Case 1:21-cv-01758-LPS Document1 Filed 12/16/21 Page 1 of 15 PagelD #: 1

UNITED STATES DISTRICT COURT _

OF DELAWARE

CARLET DeETTA WARD,
201 Voshells Mill Star Hill Road
Dover, DE 19901,
Plaintiff
vs.

CAMDEN POLICE DEPARTMENT,
& TOWN OF CAMDEN

1783 Friends Way

Camden, Delaware 19934

WAYNE WHITE,
3854 Peach Tree Rd.
Dover, DE 19901

HAROLD K. BRODE,

DIANE M. RAGER,

KENT COUNTY LEVY COURT
REGISTER OF WILLS,

555 Bay Road, Room 113

Dover, DE 19901

BARROS, MCNAMARA, MALKIEWICZ

& TAYLOR, Attorneys at Law,
2 West Loockerman Street

P.O. Box 1298

Dover, DE 19903

PATRICIA GRIFFIN, CHANCELLOR,
SUSSEX COUNTY

COURT OF CHANCERY,

34 The Circle

Georgetown, DE 19947

LESTER JOHNSON, INVESTIGATOR
c/o DELAWARE STATE ATTORNEY
GENERAL’S OFFICE,

102 W. Water Street

Dover, DE 19904

Defendants.

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Civil Case No.

25-17 58

 
Case 1:21-cv-01758-LPS Document 1 Filed 12/16/21 Page 2 of 15 PagelD #: 2

Page 2.

COMPLAINT
1. The Plaintiff, in this complaint, Carlet DeEtta Ward, is filing this civil case under Hate
Crime Statutes by way of a jury trial in response to an incident that occurred on July 12, 2019,
when she was wrongfully denied her rights and “right of way’ to her deceased parents’ Estate at
148 Vining Run, Camden, Delaware as a beneficiary and, as an inheritance. Carlet and her
brother, Michael Council, was named as their beneficiary and, shared in the responsibility of
their inheritance. Ms. Ward is claiming that she was severely discriminated against while her
civil rights were violated and she was victimized under Hate Crime Statutes. Plaintiff had placed
a 911 call into the Camden Police Department for assistance to have an unauthorized trespasser,
a realtor, Karen Waters of ReMax Horizon, removed from her parents’ driveway who was trying
to sell the home that she, her brother had inherited. The Camden Police Department responded
to the call. While in discussion, another car pulled up to the scene. They were also identified as
the suspects who were responsible for the death of their Mother, Mrs. Thelma D. Council. She
asked the Police Officers to protect her from them. They were her relatives who had run afoul of
the law. Instead, the Camden Police Department wrongfully pulled Ms. Ward off the porch and
removed her from the premise and continued to pull her into an awaiting police cruiser.
2. The three officers who responded to the 911 call were white males, Chief of
Police Whitney; Officer Hartman; and, Deputy Chief of Police, Bob Fenelius. Officer Hartman
who drove the cruiser became hostile and drove me home to retrieve the real estate company’s
“For Sale” sign that they had illegally and, without authorization, placed on the front yard. The

beneficiaries had no immediate plans to sell their inheritance home. As a result of the Camden
Case 1:21-cv-01758-LPS Document1 Filed 12/16/21 Page 3 of 15 PagelD #: 3

Page 3.
Police Department’s racist act and behavior — they were able to illegally set up house at their

parents’ estate and, with unauthorized occupants.

3. The Plaintiff states that she and her brother became the heirs after when their

Father’s (Step-Father) life was cut short on April 05, 2019. Mr. Council was funeralized on
April 19, 2019 after an autopsy was performed. It was believed that Mr. Council was hit over
the head from behind and stumbled out the door and fell to his death. There was no mentioning
of the blow on his death certificate. Their Mother, Mrs. Thelma D. Council, Kenneth’s wife,
preceded him in death when her life was also cut short on October 17, 2010. Mr. Council was a

United States Air Force and Viet Nam Veteran in the military.

4. Mr. Council’s Will and Testament specifically named the Plaintiff and her half-brother,
Michael L. Council, as the beneficiaries of their (his) Estate at 148 Vining Run, Camden,
Delaware located at the newly Pharsalia Housing Development. The 2-story custom built house
has 5 bedrooms and 3-1/2 baths, a gas fireplace, a 2 car garage, a basement and, an attached
screened-in porch on the right side with a patio. Also, living with the Councils’ was Mr.
Council’s Mother, Mattie Morris. Both Kenneth and Thelma were her caregivers since 1993.
She was 98 years old when she died in February, 2010. It must be noted that all three of them
and the Plaintiff was born in a “Brown vs. Board of Education” state - Kenneth and Mattie, from
South Carolina and, Thelma and Carlet, from Delaware. And, that the plaintiff briefly lived with

her parents from September, 2003 to May 2005. The Town of Camden has a large population of
Case 1:21-cv-01758-LPS Document1 Filed 12/16/21 Page 4 of 15 PagelD #: 4

Page 4.

known residents are known to be tied to the Confederacy; neo-Nazis; and, Skin Heads hate
groups who relocated to Delaware from the State of West Virginia. Both parents, Mr. and Mrs.
Council, were longtime members of the NAACP Civil Rights Group in Western Massachusetts
as well as being very active in their Christian faith as Baptist. Ms. Ward, herself, was a Former
NAACP Branch President also, in Western Massachusetts, a Baptist and, a community and social
justice activist. Both Mrs. Council and Ms. Ward are both natives of Delaware. Thelma was
born in Camden, Delaware and, Ms. Ward, the plaintiff, was born at Dover Air Force Base in
Delaware. The plaintiff's mother (formerly Thelma D. Ward) and father divorced and, in 1970,
she got remarried to Kenneth Council and, they moved away to another Air Force Base in
Western Massachusetts. After retirement they both relocated back to Mrs. Council’s home state
in Delaware in 2003. Both Mrs. Council and the Plaintiff are both Bi-racial, being of African-
American and Native American Indian heritage and descent. The plaintiff is 65 years old and,

female.

5. The plaintiff states that she believes that events that led up to the 911 call actually began
back in the summer of June 2009. The plaintiff went on an early quest to campaign and run as a
2010 Candidate for the U.S. Senator in the State of Delaware. By December, she was registered
as a Republican Candidate for that seat. She became the first person of color to register and run
for that seat in the State of Delaware. By July, 2010, she withdrew from running due to little to
no interest and/or, campaign fundraising even though she had held several political campaign
rallies throughout the state. The plaintiff believes that she was a victim of white political

repression because of her race, color and ethnicity. It should be noted that shortly thereafter, on
Case 1:21-cv-01758-LPS Document 1 Filed 12/16/21 Page 5 of 15 PagelD #: 5

Page 5.

October 17, 2010, her mother was given a lethal dose of medicine that took her life at a Milford
Hospice Facility — just one month before the General Elections in November. After Mr.
Council’s Will and Testament was made available, and both the plaintiff and her brother,
Michael, was named as the heirs (beneficiaries) the plaintiff's brother and a

relative, Royal Mack (Mr. Council’s cousin) was in the process of cleaning out the house and
securing the deceased private matters as well as going through what was left of both Mrs. And

Mr. Councils’ possessions.

6. Onor, about July 9" or 10", her brother, Michael, contacted her and asked her to help

him with the remaining clean-up work in the house because he was too exhausted to do anymore.
Ms. Ward had been working two jobs while her brother was unemployed and, he had tired from
the funeral and clean-up and needed a helping hand. She said yes and that she would need the

key to the house to get in.

7. Michael sent over a key to his sister, Carlet, via their cousin, Gloria Potts. When the
plaintiff first went over to the estate with the key, the key didn’t work and, she found a “For
Sale” sign on the front lawn. The plaintiff then took down the sign and took it with her over to
the Camden Police Department to report it. The front desk Officer identified herself as
“Bernadette” who stated that she was familiar with the situation at 148 Vining Run. They talked
briefly about another non-relative Wayne White, who is strongly believed to be a self-appointed
“executor” on her Step-father’s Will from a “fraud by trickery” attempt and, was told by Officer

Bernadette that his role and/or his responsibility as executor was over and, that all he had to do
Case 1:21-cv-01758-LPS Document1 Filed 12/16/21 Page 6 of 15 PagelD #: 6

Page 6.

was turn the property over to the beneficiaries of the property and, instructed the plaintiff to get
an attorney to execute the will. But she also told the plaintiff that she could not leave the
RE/Max Horizon’s Realty “For Sale” sign” at their police station and, that she could be charged
for theft even though the realtor had trespassed onto their property and was unauthorized to put

the sign there as well as putting the property on the market for sale.

8. The plaintiff took the “For Sale” sign with her home at 201 Voshells Mill Star Hill Road,
Dover, DE, where she had been living since 2005. Before leaving the police department, she
informed Ms. Bernadette that she was going to get a locksmith to let her in on that Friday, July

12, 2019.

9. On July 12, 2019, the plaintiff met with the locksmith she had hired at the property to

open the door and to change the locks. This was done after she showed the locksmith her two
identifications — one, a State ID with the 148 Vining Run address and, the other, a State Driver’s
license with her current address. He opened the door, she inspected the house upstairs and
downstairs and in the garage while he was changing the lock on the front door. She checked the
screened-in porch and secure the broken screen door; and, she then chained guard locked the
laundry room that lead into the garage and proceeded upstairs. The rooms were all empty — all
furnishings were gone including downstairs in the living room, dining room and family room.
The home had been looted. The only furnishings left was a sofa in the family room and, a
wooden furniture piece in the living room. The closet spaces were almost completely emptied

and, private matters, files, credit cards, checkbooks, bills, clothing, etc. were gone including the
Case 1:21-cv-01758-LPS Document1 Filed 12/16/21 Page 7 of 15 PagelD #: 7

Page 7.

plaintiffs trunk that was kept in safekeeping for her by her parents in the basement. Their
father’s Hyundai automobile was also gone and missing from the driveway and, their parents’
and family heirlooms were either stolen or trashed. Shortly, after the locksmith left and the
plaintiff was about to lock up and leave, is when Karen Waters of Re/Max Horizon Realty
Company pulled up into the driveway as stated that she was there to show the unsolicited
property. Carlet asked her to remove her automobile from their driveway and, to leave because
she was unauthorized as well as trespassing on the property. The heirs had no immediate plans
to sell the house. She refused to leave and, that is when the plaintiff called 911 for assistance. It
was later learned that Ms. Waters is a relative of Wayne White, the self-appointed Executor of

the will.

10. After the incident with the Camden Police Department and parties, the Plaintiff went

on a search for legal counsel to help her get their will executed. The Plaintiff retained an
attorney via signed contract and deposit with Attorney David J. Beaver of the Barros,
McNamara, Malkiewicz & Taylor, P.A. at 2 West Loockerman Street, Dover, Delaware. Due to
the urgency of the situation that had occurred at Ward’s parents’ home, she was in need of an
immediate injunction in order to prevent the unauthorized parties to take possession of or, have
them removed from the property at 148 Vining Run. Attorney Beaver, in a face-to-face meeting
indicated that the violators wouldn’t be able to close on the house if they try to sell it without the
plaintiff's authorization. Meanwhile, the law firm failed to get the injunction and, failed to make
the necessary efforts to execute the will. Plaintiff contends that the Barros firm misrepresented

themselves and, committed a fraudulent act and will show evidence accordingly.
Case 1:21-cv-01758-LPS Document1 Filed 12/16/21 Page 8 of 15 PagelD #: 8

Page 8.

11. While the search was on for another attorney, the Camden Police Department and their
parties had already set up house on their property at 148 Vining Run, Camden, along with

the self-appointed executor and, their parties (squatters) creating an “adverse possession”
situation by denying and violating the heirs, Carlet and Michael, their inheritance and rights to be
beneficiaries and the owners of their parents’ house and property via hostile takeover and by

force.

12. Michael, the plaintiffs brother, on numerous occasions went to the house to attempt to

get the unlawful occupants to relinquish the house and, to leave. He was constantly being tossed
out of the house via physical force and, on one such occasion, he was physically assaulted with a
heavy blow to the stomach area and then tossed out of the house. He had to be hospitalized for
the injuries he sustained by the Deputy Chief of Police, Bob Fenelus, who delivered the heavy
blow. Michael had to be protected from any future injuries to be sustained by Officer Fenelus

and, from the other squatters (occupants) living in the 148 Vining Run house.

13. After an unsuccessful search attempt, the plaintiff was unable to find another attorney to
help execute the will as well as give the Camden Police Department an opportunity to resolve
and, settle the ongoing dispute without legal actions. Meanwhile, there was a constant battle
between the plaintiff and the Kent County Levy Court Register of Wills Department. The Estate
of Kenneth L. Council was located in Kent County. Apparently, the Register of Wills
Department headed by Harold K. Brode and Diane M. Rager, who each decided to take up the

business of property real estate and, procedure by taking it upon themselves to put the house on
Case 1:21-cv-01758-LPS Document1 Filed 12/16/21 Page 9 of 15 PagelD #: 9

Page 9.

the market with their self-appointed executor, Wayne White, a known drug and swindling
offender from West Virginia, in efforts to settle the estate without the heirs permission for which
they, the heirs, were in their legal right to contest what the Kent County Levy Court Register of
Wills was attempting to do with their inheritance. The Camden Police Department Deputy Chief
of Police, Bob Fenelus, had his name put on the deeds on the Estate of Kenneth L. Council at

148 Vining Run, Camden, DE 19904 for ownership and for his personal use. And, it still
remains today. Mr. Fenelus has since chosen to change the color of the exterior of the house’s

window shutters and the front door.

14, On September 10, 2020, the plaintiff sent Mr. Fenelus a certified letter, receipt returned,

to him at the 148 Vining Run, Camden, Delaware address a “Cease and Desist” Order to Vacate
the premises including any or all unauthorized squatters illegally living on the premises. A series
of code violations were cited in that letter including Title 11 Civil Rights Act of 1968, Hate
Crimes Statues — 18 U.S.C{245(b)(2); Titles 241; and, 242, Section 3631; Senate Bill 132; AND,
Title 18 -R.LC.O. Statutes — drug trafficking and fraud. Violations of their First, Fourth, Ninth
and Fourteenth Amendments and, for illegal use of the property. She also cited relevant
Delaware codes and, for illegal use of the property. She also cited relevant Delaware violation
codes numbers: 75 Delaware C.271, 1304 Title 11, 1304; {821,825,826(A),827;831(1)(2); 78
Delaware Laws C252{1}; and, 82 Delaware C215{1}. The Camden Police Department and its
patties broke into the house to illegally enter the premise after the Plaintiff had the locks changed

and the home secured. The certified letter was sent cc: to the Camden Police Department.
Case 1:21-cv-01758-LPS Document 1 Filed 12/16/21 Page 10 of 15 PagelD #: 10

Page 10.

15. After receiving no response from Mr. Bob Fenelus or, from the Camden Police

Department, the Plaintiff sent a letter along with a copy of the letter sent to Fenelus to their
Mayor, Tracey Torres, at the Town of Camden located at 1783 Friends Way in Camden —

the same building where the Camden Police Department is located. The letter asked the Mayor
to take charge of the situation as well as what, if any, actions will the Town of Camden be taking
to correct the wrong their police department have committed due to the “adverse possession”
situation at 148 Vining Run. Between phone tags and voice messages, the plaintiff nor the
Mayor was unable to connect. The Mayor indicated that she was no longer working out of the

office of the Mayor due to the Covid-19 pandemic.

16. On or about April or May, 2021, the Plaintiff made a last effort and, or attempt to

retain an attorney to assist with the estate’s conflict but to no avail. The plaintiff had resorted to
calling on attorneys who specialized in Alternative Resolutions. Because of that, she telephoned
the Camden Police Department to ask to speak to Bob Fenelus, who, at the time was the Deputy
Chief of Police and was told that there was no one there by that name. She has spoken with both
Officers Hartman and Bernadette. She then proceeded to ask to speak to the Chief of Police,
Whitney, who was not there at the time. Both Officers Bernadette and Hartman responded to her
phone call. The plaintiff asked for Bob’s phone number so that she could make arrangements to
meet with him on neutral grounds due to his past abusive and violent tendencies and acts of

physical violence behaviorism. Both refused to cooperate with that request.
Case 1:21-cv-01758-LPS Document 1 Filed 12/16/21 Page 11 of 15 PagelD #: 11

Page 11.
17. The plaintiff then attempted to get the phone number from the Mayor’s Office but
to no avail. She received no response to her request after leaving a voice message on the

Mayor’s answering machine.

18. Because the Plaintiff had originally filed a complaint with the Delaware Department

State Attorney General’s Office back in 2010 after her mother, Thelma D. Council ‘s life was cut
short under suspicious conditions, a list of offenders and, relatives who were known drug related
criminals was given to Lester Johnson, an Investigator, with the State Attorney’s General Office
in Dover, Delaware. The plaintiff was seeking criminal charges for the death of her mother. The
State Attorney’s Office, after several meetings with Mr. Johnson and the Milford Police
Department, and, after conversations with the Attorney General, it was determined that a
“wrongful death” could be pursued by the State. After several months had surpassed, nothing

came out of that decision. The Attorney General at the time was Joseph Robinette Biden, IIT.

19. The Estate of Kenneth L. Council was also unlawfully occupied by those very same
individuals whose names were on the list provided to the State Attorney’s General’s Office in
violation of the beneficiaries’ rights including Mr. Wayne White, the self-appointed executor of
the Estate. The plaintiff has no way in inspecting the current condition of the house’s interior

without cooperation from the occupant, their law enforcement and, the courts.
Case 1:21-cv-01758-LPS Document1 Filed 12/16/21 Page 12 of 15 PagelD #: 12

Page 12.

20. The plaintiff contends that in the case involving the Sussex County Court

Of Chancery whose Chancellor presiding was Ms. Patricia Griffin, the plaintiff made the
determination that their involvement in the property dispute with the Kent County Levy Court’s
Register of Wills was out of jurisdiction. The Plaintiff lives in Kent County and wished to

remain in that county for legal recourse and resolution. The plaintiff also contends that she never
made any such request to have her case venue to another county and, therefore refused to take
part in their hearings. The Chancellor took it upon herself to conduct a hearing in this case
without authorization from the Plaintiff and, was found to have had a personal conflict of interest
in her meddling of the Plaintiff's fight with the Kent County Levy Court’s Register of Wills
Department which could have resulted in a very hostile and a negative outcome from

Georgetown and in the courtroom setting.

21. Plaintiff states that while she was undergoing constant disputes with the Register of Wills
Department at Kent County Levy Court, she made several efforts and attempts to make contact
with the Federal Bureau of Investigation (FBI) who jurisdictionally handles hate crimes
throughout the country but had trouble getting through. This was a time when there was no
access to our federal offices because they were each demobilized and unable to respond or,
handle complaints during the COVID-19 pandemic. She then contacted a Washington D.C.

Office of Civil Rights and was able to get through when a man answered the phone.
Case 1:21-cv-01758-LPS Document1 Filed 12/16/21 Page 13 of 15 PagelD #: 13

Page 13.

Although their office didn’t handle hate crimes complaints relative to housing issues, the person
who took her call was willing to forward along her complaint to the FBI and, he did.

Still, there was no response and no contact made between the plaintiff and the FBI. The plaintiff
also emailed and called the Southern Poverty Law Center who are experts on hate crimes
complaints but again, due to the pandemic, their offices were temporarily closed. Only an email
option was available through this period of demobilization and/or due to no access during this

pandemic. No follow-up response was received.

22. The plaintiff also states that she had a witness to the 7/12/19 incident that took place at

148 Vining Run, Camden, Delaware. He was a white male from the Delaware State Police law
enforcement dressed in uniform. While she was being pulled from the house and into the car she
asked the Officer if he could do something and, he said no. However, that State Trooper has yet

to come forward as a witness.

23. Hate crimes, according to experts, “have been found that the main determinant of hate
crimes are due to be from personal prejudice or “good old-fashion” racism. Hate crimes are
message crimes. They are different from other crimes in that the offender(s) is sending message
to members of a certain group that they are unwelcome in a particular neighborhood or
workplace.” In addition, hate crimes are committed by specific hate groups: KKK, Neo-Nazis,
racist skin heads, neo-confederates, black separatist and for Christian identity — “Hate crimes are
violent acts against people, property or organizations because of the group to which they belong

or identify with.”
Case 1:21-cv-01758-LPS Document 1 Filed 12/16/21 Page 14 of 15 PagelD #: 14

Page 14.

And, because hate groups bond together against others creating their own acts of Biased-
motivated crimes — which causes victims of hate crimes to suffer severe emotional damage”, it
was in the right course of action for the plaintiff to seek damages and relief from the court — the

U.S. District Court because it was the only alternative available for justice.

24. The plaintiff, Carlet DeEtta Ward, as filed under civil action, is an injured person from

all damages incurred from her losses and, from her inheritance — the property at 148 Vining Run
in Camden, Delaware as a result of the defendants’ conduct in violation of her property rights as
well as for slander, defamation of character as well as framing as an innocent person of the
plaintiff. The plaintiff, in addition to her past civil rights, community and social justice activism
and involvement, is secular (does not attend church) and, is a clean cut all- American “toothless”
female Senior Citizen who doesn’t drink, smoke, or, do drugs and, has never engaged in the drug
culture world. She has never broken the law and, has worked almost her entire life earning a
decent living. She is a divorcee and has a son who is 43 years old and, she currently holds two
jobs in retail. The defendants, in this case, co-conspired together to intentionally fraud the
plaintiff from her inheritance via of property swindling scandal based on bias-motivated criminal
acts and conduct while at the same time by creating a hostile “adverse possession” situation
involving a whole sleuth of unauthorized occupants (squatters) who found a collective way to
illegally misuse the property — including under R.L.C.O. Statute laws. And, she is still

undergoing harassment where she currently resides while, just recently, she was a victim of a
Case 1:21-cv-01758-LPS Document1 Filed 12/16/21 Page 15 of 15 PagelD #: 15

Page 15.

property vandalism crime beginning on January 19, 2021 that spilled over into the next 2
consecutive days when the chimney on the house was completely destroyed and demolished
while the assailants were attempting an art heist up on the second floor window where 88
paintings are stored in aroom. The plaintiff is an artist who paints and sketches. She is
currently in Superior Court seeking damages and replacement for the chimney seeking damages

in the amount of $50,000. Currently, their court is in the “fraud” mode for a judgment.

WHEREFORE, the Plaintiff, therefore, is seeking from the court via jury trial
compensatory and punitive damages in awards in the amount of $20 million dollars; an entitle to
recover and, be granted a return of property in the form of a “Replevin Demand for Judgment”
for the property at 148 Vining Run, Camden, Delaware 19934 as the rightful heir(s) to their
inheritance; recovery from being denied to secure an injunction; damages, punitive damages
and/or other appropriate relief in law and, she is asking the court to grant her, the plaintiff, the
“Town of Camden Town Hall Building at 1873 Friends Way, Camden, Delaware 19934 which
also houses the Camden Police Department and, any other building(s) for their role and
participation under Hate Crime Statutes as listed including under any R.I.C.O. Statute laws that

will apply.

Contec. WarQe
Carlet DeEtta Ward
201 Voshells Mill Star Hill Road
Dover, DE 19901

(302) 264-1895

Signed this Date. /2-/ | & fet

 
